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                          UNITED STATES BANKRUPTCY COURT
                               DISTRICT OF COLORADO


In re:                                            Case No. 19-11151
                                                  Chapter 7
Joseph Nawrocki


         Debtors               /

  ORDER AUTHORIZING THE CHAPTER 7 TRUSTEE TO RETAIN BK GLOBAL
  REAL ESTATE SERVICES AND KELLER WILLIAMS PARTNERS REALTY TO
PROCURE CONSENTED PUBLIC SALE PURSUANT TO 11 U.S.C. §§327, 328 AND 330

                Upon the Notice and Application of Kevin Kubie, the trustee in the above-captioned

case (“Trustee”), to Retain BK Global Real Estate Services and Chris Freeman to Procure

Consented Public Sale pursuant to 11 U.S.C. § § 327, 328 and 330 (“Application”) [Docket No.

], the Court having reviewed and considered the Notice, Application and the Affidavit of

Disinterestedness and having found good and sufficient cause appearing therefor and the same to

be in the best interest of Debtor and the creditors the Court hereby FINDS that:

            A. The Court has jurisdiction over this matter pursuant to 28 U.S.C. § 157(b)(2).

            B. Venue of this Chapter 7 case and the Application is proper pursuant to 28 U.S.C.

         §§ 1408 and 1409.

            C. Notice of the Application was sufficient under the circumstances.

                Based upon the foregoing findings of fact, it is hereby

                ORDERED, ADJUDGED, AND DECREED that:

           1.   The Application is hereby GRANTED.

           2.   Defined terms not otherwise defined herein have the meanings given to them in the

Application and the Affidavit.

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         3.    The Trustee is authorized to retain and compensate BKRES and local licensed

Listing Agent to provide the necessary professional assistance and representation required

by the Trustee to fulfill the Trustee’s duties pursuant to 11 U.S.C. § 704 in order to procure

Secured Creditor’s Consent, and otherwise market and sell the Property, in Debtor’s Chapter 7

case pursuant to Sections 327, 328(a) and 330 of the Bankruptcy Code, and Bankruptcy Rules

2014 and 2016, in accordance with the terms and conditions set forth in the BKRES Agreement,

the Listing Agreement and this Order. BKRES and Listing Agent shall not split or otherwise share

their fees with any other person or entity.

         4.    BKRES and Listing Agent are disinterested persons within the meaning of

Bankruptcy Code Section 101(14).

         5.    BKRES and Listing Agent shall be compensated in accordance with the BKRES

Agreement and Listing Agreement, respectively, and such compensation shall not hereafter be

subject to challenge except under the standard of review set forth in Section 330 of the Bankruptcy

Code.BKRES and Listing Agent shall be authorized to receive and retain their fees from Secured

Creditor at the successful closing of the sale of the Property without necessity of further order of

the Court. The estate shall, in no circumstance, be obligated to compensate BKRES or Listing

Agent in such event and BKRES and Listing Agent shall not have a claim against the estate for

any unpaid amounts. BKRES and Listing Agent, and anyone claiming by, through or under either

of them, shall only have recourse for recovering its fee to Secured Creditor. The estate shall have

no liability for any such claim.




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          6.    Trustee is hereby authorized to engage Brokers BKRES and Listing Agent to

provide reasonable and necessary property preservation, maintenance, and upkeep services to the

subject estate Property to facilitate the sale of the Property for the benefit of the Secured Creditor(s)

and bankruptcy estate, and to reimburse the Brokers in a maximum amount not to exceed $500.00

for the approved reasonable, necessary costs and expenses of preserving, or disposing of, the

subject Property, without the need for further Order.

          7.    Notice of the Application was adequate and proper.

          8.    This Court shall retain jurisdiction to hear and determine all matters arising from

or related to the implementation of this Order.


Dated:_______________
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                                                Bankruptcy Court Judge




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